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     COUNTY OF MARIN
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 7
                                     UNITED STATES DISTRICT COURT
 8
                                   NORTHERN DISTRICT OF CALIFORNIA
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11   SEAPLANE ADVENTURES, LLC, a California                   Case No.: 20-cv-06222-WHA
     Limited Liability Company
12                                                            DECLARATION OF DEPUTY ROBERT
                                                              HEILMAN IN SUPPORT OF DEFENDANT
13                  Plaintiff,                                COUNTY OF MARIN'S MOTION FOR
                                                              SUMMARY JUDGMENT
14         V.
                                                              Complaint filed: September 2, 2020
15   COUNTY OF MARIN, CALIFORNIA; AND
     DOES 1 THROUGH 10, Inclusive,                            Date:       October 7, 2021
16                                                            Time:       8:00AM
                                                              Judge:      Honorable William Alsup
17                  Defendant.                                Dept:       Comiroom 12, 19th Floor

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20         I, DEPUTY ROBERT HEILMAN, declare as follows:
21           1.     I am employed as a Deputy in the Marin County Sheriffs Office. I submit this

22   declaration in support of the motion for summary judgment submitted by the County of Marin

23   ("County") in this matter. I have personal knowledge of the contents of this declaration, except as to

24   any matters stated on information and belief, and as to those matters, I am informed and believe them tc
25   be true. If called as a witness, I could and would competently testify to the matters set forth in this

26   declaration.
27          2.      In July 2020, I was assigned to perform duties including general patrol duties in the area

28   around Sausalito in Marin County, California. On July 2, 2020, I was informed tlu·ough my chain of


     DECLARATION OF DEPUTY ROBERT HEILMAN IN SUPPORT OF DEFENDANT COUNTY OF MARIN'S MOTION
                                    FOR SUMMARY JUDGMENT
                                   USDC Case No. 20-cv-06222-WHA
 1    command that County had received complaints that two businesses operating at the seaplane base in
 2    Sausalito-Seaplane Adventures, LLC and San Francisco Helicopters ("SF Helicopters")-were
 3   operating in violation of the terms of the health orders County had issued in response to the COVID-19
 4   pandemic by operating recreational sightseeing tours in their aircraft. I was also infmmed that County
 5   had previously communicated with the owner of Seaplane Adventures about the way the health orders
 6   restricted his operations, but that Seaplane Adventures had not complied with County's instructions.
 7           3.     Later that day, I traveled to the seaplane base with two other officers, Deputy Zachary
 8   Schlief and Sergeant Greg Ganett. When we arrived at the offices at the seaplane base, we made
 9   contact with a man sitting at the desk for SF Helicopters who identified himself as a pilot for SF
10   Helicopters. We explained to him that County had taken the position that its tour flight operations were
11   not permitted under the health orders, and that if SF Helicopters continued to operate such flights,
12   County would issue it a citation for each such flight. Deputy Schlief, Sergeant Garrett, and I were all
13   wearing body-worn cameras during this interaction. I understand that the video footage of this
14   interaction from these three cameras was produced by County Counsel to Plaintiff in this case, in three
15   separate files (one from each of our points of view). I recently reviewed a video file I received from th
16   County Counsel's office with the filename "Adv.mp4," which I understand from County Counsel is on
17   of the three files containing body-worn camera footage from this interaction that County produced to
18   Plaintiff. A true and conect copy of Adv.mp4 is attached hereto as Exhibit 13. This footage is a true
19   and accurate depiction of the July 2, 2020 interaction I had at the office of SF Helicopters with the man
20   identifying himself as a pilot for SF Helicopters.
21           4.    The office of Seaplane Adventures is located in the same collection of offices as the
22   office of SF Helicopters. No one from Seaplane Adventures was present in its office on July 2, 2020 at
23   the time I visited the office of SF Helicopters. So, I returned to the facility the next day, July 3, 2020.
24   That day, I spoke with a man who identified himself as Aaron Singer, the owner of Seaplane
25   Adventures. In summary, I told Mr. Singer that per the email conespondence Mr. Singer had recently
26   exchanged with County, County had taken the position that Seaplane Adventures's tour flight
27   operations were not permitted under the health orders, and that if Seaplane Adventures continued to
28   operate such flights, County would issue it a citation for each such flight. As I had done during the
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     DECLARATION OF DEPUTY ROBERT HEILMAN IN SUPPORT OF DEFENDANT COUNTY OF MARIN'S MOTION
                                    FOR SUMMARY JUDGMENT
                                   USDC Case No. 20-cv-06222-WHA
 1    interaction the previous day with SF Helicopters, I was wearing a body-worn camera during this

 2    interaction with Mr. Singer. I understand that the video footage of this interaction from this camera

 3   was produced by County Counsel to Plaintiff in this case, in one file. I recently reviewed a video file I

 4   received from the County Counsel's office with the filename "Misc_Advisement.mp4," which I

 5   understand from County Counsel is the file containing body-worn camera footage from this interaction

 6   that County produced to Plaintiff. A true and conect copy of Misc_Advisement.mp4 is attached hereto

 7    as Exhibit 14. This footage is a true and accurate depiction of the July 3, 2020 interaction I had with

 8   the man identifying himself as Aaron Singer.

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10            I declare under penalty of perjIDy under the laws of the State of California that the foregoing is

11   true and accurate to the best of my knowledge

12          Executed on August 27, 2021, in San Rafael, California.

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14                                                        By:
                                                                    Deputy Robert Heilman
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     DECLARATION OF DEPUTY ROBERT HEILMAN IN SUPPORT OF DEFENDANT COUNTY OF MARIN'S MOTION
                                    FOR SUMMARY JUDGMENT
                                   USDC Case No. 20-cv-06222-WHA
     EXHIBIT 13: Adv.mp4
To access video use link below:
https://www.dropbox.com/s/ze523jzll6yaulo/Adv.mp4?dl=0
             EXHIBIT 14:
         Misc_Advisement.mp4
To access video use link below:
  https://www.dropbox.com/s/8wgvqrrzstko61f/Misc_Advisement.mp4?dl=0
